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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                              CIVIL ACTION NO.
      IN RE: JOHNSON & JOHNSON TALCUM
      POWDER PRODUCTS MARKETING, SALES                        3:16-md-2738-MAS-RLS
      PRACTICES, AND PRODUCTS LIABILITY
      LITIGATION                                              MDL NO. 2738


      THIS DOCUMENT RELATES TO ALL CASES


        PLAINTIFFS’ STEERING COMMITTEE’S OPPOSITION TO DEFENDANTS’
                MOTION TO STRIKE PLAINTIFFS’ EXPERT REPORTS

          On October 14, 2021, just days before their deadline to designate all general and case-

  specific experts for the first bellwether trial, Defendants made the strategic (albeit misguided)

  decision to attempt to force the resolution of all pending and future talcum powder claims by filing

  a Chapter 11 bankruptcy petition through its subsidiary, LTL Management LLC (LTL).

  Defendants’ strategy failed twice. The first bankruptcy was dismissed by the Third Circuit,

  holding that the bankruptcy petition had “no valid bankruptcy purpose” but, instead, was

  implemented only to “beat back talc litigation in trial courts.”1 Within three hours of the first

  petition being dismissed, Defendants doubled down and filed a second flawed bankruptcy petition.

  Like the first petition, the second bankruptcy was dismissed because the debtor lacked financial

  distress.2

          The PSC recounts this for one simple reason: Defendants’ two failed bankruptcies caused

  nearly a two-year delay in this MDL. Now, despite acknowledging both the passage of time, new


  1
    See LTL Mgmt., LLC v. Those Parties Listed on Appendix A to Complaint (In re LTL Mgmt.
  LLC), 58 F.4th 738 (3d Cir. 2023) (dismissing first bankruptcy petition because it was filed in bad
  faith and debtor was not in financial distress).
  2
    See In re LTL Mgmt., LLC, 652 B.R. 433 (Bankr. D.N.J. 2023) (dismissing second bad faith
  bankruptcy because debtor was not in financial distress).
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  scientific publications, and developments in the litigation,3 Defendants want to freeze the record

  as it existed in 2021 and demand that Plaintiffs rely upon experts identified and expert reports that

  were originally served in 2018 – over five years ago. Even more so, Defendants suggest that neither

  the PSC nor their experts should have continued to review the evidence to further develop the

  record of how Johnson & Johnson chose to ignore decades of evidence linking its flagship product

  to ovarian cancer.

         The PSC represents the interests of more than 51,000 plaintiffs in this MDL, and leadership

  has an ongoing, fiduciary obligation to each of these plaintiffs. Discovery in this matter is ongoing

  and Defendants continue to produce documents that should have been produced years ago. The

  PSC continues to work to integrate science and facts into this ongoing litigation, including ongoing

  work with retained experts and finding new experts to support all relevant and necessary legal

  theories. As recently as August 14, 2023, Plaintiffs filed Plaintiffs’ Renewed Motion For Leave

  To File A Second Amended Master Long Form Complaint (Dkt. No. 26636), to add additional

  facts, Defendants, and causes of action that arose during expert discovery and the pendency of the

  LTL bankruptcies.

         With respect to the current motion, Defendants argue that Plaintiffs’ expert disclosures are

  out of time, ignoring the plain language of the prior and most recent Case Management Orders and

  misrepresenting the events underlying their present motion. The extraordinary relief sought by

  Defendants seeks to capitalize on the significant delays that were caused by Defendants’ own prior,

  misguided, strategic decisions. Defendants’ motion should be denied in its entirety.




  3
   See September 6, 2023, Transcript of Case Management Conference (“CMC Transcript”) at
  16:10-24, relevant excerpts of which are attached hereto as Exhibit A (Defendants arguing they
  would be handcuffed if required to rely upon hearings, reports and science that dates back to 2019).
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                                            BACKGROUND

          It has been more than seven years since the Judicial Panel on Multidistrict Litigation

  (JPML) first entered a Transfer Order pursuant to 28 U.S.C. §1407 to centralize these pretrial

  proceedings in the District of New Jersey. (Dkt. No. 1). At the outset of this litigation, former

  Chief Judge Freda Wolfson bifurcated the case requiring Plaintiffs to focus first on science and

  general causation issues. Daubert hearings on the issue of general causation were held in July

  2019, and the Court issued its Daubert ruling on April 27, 2020. In the Opinion, Judge Wolfson

  stated: “Defendants’ argument reveals their disagreement with the conclusions of the experts – not

  the methodologies employed in consideration of the studies…Where the Court has determined that

  the experts on both sides have applied a reliable methodology in reaching their conclusions, ‘it is

  up to the jury to decide whether the expert used the best and most reliable methodology.’” See In

  re: Johnson & Johnson Talcum Powder Prods. Mktg., Sales Practices & Prod. Litig., 509 F. Supp.

  3d 116, at 168, 192 (D.N.J. 2020) (citations omitted).

          On June 11, 2020, the parties filed a joint submission relating to the expert witnesses who

  did not appear at the Daubert hearing but whose methodology was, in effect, examined by the

  Court. The joint submission stated: “The parties agree that the Court’s rulings on the parties’

  experts’ epidemiology and Bradford-Hill analyses will be binding on all experts who offer

  opinions in those areas.” (Dkt. No. 13602).

          Following the Daubert rulings, the parties continued with additional discovery, including

  liability discovery, and several state court trials also occurred. By the fall of 2021, this MDL was

  proceeding toward an MDL trial to occur in late spring or early summer of 2022. On July 2, 2021,

  nearly three years after Plaintiffs’ original expert disclosures, Plaintiffs served case-specific expert

  reports for the six cases in the bellwether pool and amended reports for certain general causation



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  experts.4 Thereafter, Defendants deposed each of Plaintiffs’ experts for which a new or amended

  report was served. On October 14, 2021, one week prior to the deadline for Defendants to disclose

  their case-specific and general causation experts, Defendants embarked on their bankruptcy

  strategy that shielded Defendants from having to disclose and produce reports for their experts.

          Now, again, Defendants look to use their ill-fated bankruptcy as a sword, arguing that

  Plaintiffs should be precluded from disclosing new, supplemental, or amended expert reports.

  Nothing could be more unfair or unfounded. Although this litigation was stayed, time marched on

  during the LTL bankruptcy proceedings and Plaintiffs should have every opportunity to marshal

  our current understanding of the facts, science, and the law. Accordingly, pursuant to the

  Scheduling Order, on November 15, 2023, Plaintiffs served expert reports on Defendants.

          New experts. Plaintiffs identified several experts who had not previously been identified

  in this MDL – Drs. Harlow, Rothman, Newman, and Cote. Each of their opinions address issues

  that have been the subject of this litigation for more than seven years and are very familiar to

  Defendants. Dr. Newman is a marketing expert with expertise in the areas of branding and

  consumer behavior. Defendants understand marketing has been a part of this litigation since the

  outset. The Master Long Form Complaint is replete with allegations that Defendants, through their

  marketing initiatives, misled and deceived consumers for decades that talcum powder products

  were safe, pure, and asbestos free. Moreover, the deposition of Defendants’ designated marketing

  witness was completed after the July 2021 expert deadline and less than a month before the first

  bankruptcy filing. The 30(b)(6) marketing deposition is a foundational element of Plaintiffs’


  4
    Any position by Defendants that experts not designated on July 2, 2021 are not eligible for
  bellwether trials is misguided. Plaintiffs have never withdrawn any experts and all experts are
  eligible to testify during a bellwether trial or any trial in a remanded case. In fact, pursuant to the
  current Case Management Order, dated October 10, 2023, Plaintiff do not have to “serve their final
  list of trial experts for the first bellwether trial [until] 60 days before the date of the first trial.”
  Dkt. No. 28516 at ¶ 12 (hereinafter referred to as the “Scheduling Order”) (emphasis in original).
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  marketing case. For that reason, it is not surprising that a report from a marketing expert was

  prepared after the deposition but, due to the nearly two-year bankruptcy stay, not produced until

  recently.

         The PSC proffered a joint expert report by Bernard L Harlow, PhD and Kenneth Rothman,

  DrPH. Dr. Harlow is the past president of the Society of Epidemiological Research. He is

  currently a Professor of Epidemiology at Boston University’s School of Public Health, was

  previously a Chair of the Division of Epidemiology at the University of Minnesota School of

  Public Health and was an Associate Professor of Epidemiology at the Harvard University School

  of Public Health. Dr. Rothman is also a Professor of Epidemiology at Boston University as well

  as an internationally recognized expert in epidemiology. In addition to founding the journal

  Epidemiology, Dr Rothman co-authored two of the premiere textbooks on Epidemiology – Modern

  Epidemiology (in its 4th edition) and Epidemiology – An Introduction (in its 2nd Edition). Dr.

  Rothman’s expertise is not only acknowledged by his peers in the scientific community, who have

  cited him in the peer-reviewed scientific literature over 100,00 times, but by the federal judiciary

  in the Federal Judicial Center’s Reference on Scientific Evidence (3rd edition). Unlike J&J’s

  experts, Drs. Harlow and Rothman have published on the relationship between talcum powder and

  ovarian cancer in the medical literature and did so before being retained as experts. Most recently,

  in 2020, these epidemiologists published a response to the alleged “new science” that Defendants

  have touted as a sea-change in this litigation.5

         Dr. Cote is a nationally and internationally recognized cancer epidemiologist and scientist.

  She has published extensively in the realm of gynecologic cancers, including ovarian cancer, from

  etiology to survivorship. As a member of the research team for the African American Cancer


  5
   See Harlow BL, Murray EJ and Rothman, KJ, Genital Powder Use and Ovarian Cancer; JAMA
  2020; 323 (20).
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  Epidemiology Study (AACES), in 2016 she along with other researchers published a study

  examining genital talc use and ovarian cancer.6 This research continues as a survival cohort, the

  only one of its kind to focus on African American women. In addition to her research and extensive

  peer-review publications, her teaching has predominantly focused on the application of

  epidemiologic methods to human health challenges. Dr. Cote currently acts as the Director of the

  Susan G. Komen Tissue Bank, Simon Cancer Center, at Indiana University. In her role as a cancer

  researcher and epidemiologist, she will provide general causation testimony that genital exposure

  to talcum powder can cause ovarian cancer. Defendants were offered deposition dates in early

  January 2024, to explore and challenge Dr. Cote’s opinions, but declined the offer.

         Updated expert reports. Since July 2021, there have been additional state-court trials in

  both ovarian cancer and mesothelioma cases, new depositions, new documents produced, and new

  literature published.   In addition, Plaintiffs have continued to develop and advance their

  understanding of the evidence both prior to and during the pending bankruptcies. Experts in the

  upcoming bellwether trials in this MDL must have the ability to rely upon new scientific

  information that developed and occurred during the stay that was in place due to the bankruptcies

  that precluded any earlier filing of expert reports containing updates of information and opinions.

  More importantly, Plaintiffs’ experts must be able to synthesize the new information with that

  which has already been part of this ongoing litigation. It should be expected and reasonable to

  assume that Plaintiffs’ experts would add to and refine their opinions, just like was done in July

  2021 pursuant to the similar scheduling order that was in place. The current scheduling Order

  contemplated as much, and the opinions of Plaintiffs’ experts were timely disclosed.



  6
   See Schildkraut JM, Abbott SE, Alberg AJ, et al. Association between Body Powder Use and
  Ovarian Cancer: The African American Cancer Epidemiology (ACCES). Cancer Epidemiol
  Biomark. Prev. 2016; 25(10): 1411-1417.
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         Dr. Shawn Levy is an expert in genetics. The Court previously denied Defendants’ motion

  to exclude his opinions regarding the involvement of genetics in the development of ovarian cancer

  and, specifically, the biologically plausible mechanisms by which talcum powder can cause

  mutations resulting in ovarian cancer. Building upon his expertise and opinions, Dr. Levy will also

  opine on the genetic testing results of the six bellwether pool cases. The Court has not yet

  considered the case-specific opinions of any expert; therefore, Defendants will have opportunity

  to depose Dr. Levy and challenge any of his case-specific opinions.

         Dr. David Kessler is a former Commissioner of the United States Food and Drug

  Administration and an expert in regulatory affairs. Dr. Kessler was identified as an expert in 2018

  but was not deposed in relation to his November 2018 report. By agreement of the parties, the

  decision on Defendants’ Daubert motion regarding Dr. Kessler’s opinion was deferred until after

  the Court’s Daubert decision on general causation and biologic plausibility. Dr. Kessler’s report

  was not supplemented in 2021 since, at that time, he was serving as Chief Science Officer of the

  United States COVID-19 Response. Further, Defendants have not taken Dr. Kessler’s deposition

  in this matter and, when Dr. Kessler is deposed, Defendants will be able to challenge all of the

  opinions contained in his report.

         Dr. William Longo7 has provided additional reports outlining results of testing of other

  samples of Defendants’ talcum powder products for not only amphibole asbestos and fibrous talc,

  but also for chrysotile asbestos. These opinions relating to the presence of chrysotile asbestos in

  Johnson’s Baby Powder were not previously disclosed in the MDL and were not addressed by the

  Daubert Order. However, many of the opinions expressed by Dr. Longo in these additional reports



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    The Court’s Daubert order provided that Dr. William Longo and Dr. Mark Rigler may testify to
  their TEM (transmission electron microscopy) results identifying amphibole asbestos and fibrous
  talc.
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  have been provided to Defendants in other mesothelioma litigations and Dr. Longo has been

  deposed on those opinions, overcome various motions, and testified to those opinions in trials.

  Secondly, Defendants object to Dr. Longo’s exposure analysis. The Daubert Order stated that

  “[b]y failing to conduct an exposure analysis, Dr. Longo’s opinion on the likelihood that talc users

  were exposed to a ‘significant’ amount of asbestos… is too attenuated from his findings.” See In

  re: Johnson & Johnson Talcum Powder Prods. MDL, 509 F. Supp. 3d at 157. At the time of the

  Daubert decision, potential bellwether plaintiffs had not been identified and Dr. Longo was unable

  to conduct any exposure analyses. That is no longer the case. Dr. Longo has reviewed detailed

  usage information for each of the six bellwether pool plaintiffs and conducted case-specific

  exposure analyses. Defendants will have an opportunity to depose Dr. Longo regarding these case-

  specific opinions and challenge these opinions if they wish to do so.

         Drs. Anne McTiernan, Sonal Singh, Jack Siemiatycki, and Rebecca Smith-Bindman are

  previously disclosed expert epidemiologists and cancer specialists. The Court’s Daubert decision

  approving the qualifications and general causation methodology of Plaintiffs’ experts applied to

  each of these experts. (Dkt. 13602, p.1). Each of these experts incorporated recently published

  scientific literature relevant to their opinions in amended or supplemental expert reports. This

  updated scientific literature demonstrates the strength and consistency of the association between

  genital talcum powder exposure and ovarian cancer. The methodology employed in the recent

  reports prepared by these experts is the same methodology presented to the Court during the

  Daubert hearings conducted in July 2019 and addressed in the Court’s Daubert opinion. The

  experts have not added to or changed their opinions, but rather their reports demonstrate that the

  updated scientific literature further affirms and strengthens their opinions that genital exposure to

  talcum powder can cause ovarian cancer.



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                                             ARGUMENT

         Federal Rule of Civil Procedure 26(a)(2) governs the disclosure of expert testimony. The

  Rule provides that “a party must” disclose their experts and the contents of their reports “at the

  times and in the sequence that the court orders.” Fed. R. Civ. P. 26(a)(2)(D). “The purpose of the

  requirement to disclose expert reports in advance of trial is to provide the opposing party with a

  ‘reasonable opportunity to prepare for effective cross examination and perhaps arrange for expert

  testimony of other witnesses.’” Trinity Indus. Inc. v. Greenlease Holding Co., 173 F. Supp. 3d

  108, 222 (W.D. Pa. 2016) (quoting Fed. R. Civ. P. 26(a)(2) advisory committee’s notes to 1993

  amendment).

         The Federal Rules of Civil Procedure provide the Court with broad authority to manage

  the schedule of litigation. See Rowe v. E.I. duPont de Nemours & Co., No. 06-1810 (RMB/AMD),

  2010 WL 703210, at *3 (D.N.J. Feb. 24, 2010). Where a party fails to meet disclosure obligations,

  including proper disclosure of experts and their reports, Rule 37 authorizes the Court to issue

  sanctions. See Fed. R. Civ. P. 37(b)(2), (c)(1). However, the Federal Rules “should be construed,

  administered, and employed by the court and the parties to secure the just, speedy, and inexpensive

  determination in every action and proceeding.” Fed. R. Civ. P. 1. The Third Circuit has expressed

  its preference for cases to be decided on the merits, particularly in the context of motions to strike

  or bar discovery, rather than on procedural technicalities. See Hritz v. Woma Corp., 732 F.2d

  1178, 1181 (3d Cir. 1984) (“[W]e have repeatedly stated our preference that cases be disposed of

  on the merits wherever practicable.”). This is because “[t]he exclusion of critical evidence is an

  ‘extreme’ sanction, not normally to be imposed absent a showing of willful deception or ‘flagrant

  disregard’ of a court order by the proponent of the evidence.” Meyers v. Pennypack Woods Home

  Ownership Ass’n, 559 F.2d 894, 905 (3d Cir. 1977) (quoting Dudley v. South Jersey Metal, Inc.,



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555 F.2d 96, 99 (3d Cir. 1977)). Exclusion of evidence “should not be imposed where an untimely

or improper expert disclosure amounts to only a ‘slight deviation from pre-trial notice

requirements’ or occasions only ‘slight prejudice’ to the movant.” Withrow v. Spears, 967 F. Supp.

2d 982, 1000 (D. Del. 2013) (citations omitted). “The Third Circuit has, on several occasions,

manifested a distinct aversion to the exclusion of important testimony absent evidence of extreme

neglect or bad faith on the part of the proponent of the testimony. ABB Air Preheater, Inc. v.

Regenerative Envtl. Equip. Co., Inc., 167 F.R.D. 668, 671 (D.N.J. 1996).

         In the present motion, Defendants challenge Plaintiffs’ expert reports, arguing for the

extreme sanction that the reports be stricken because they are not timely. As outlined below, the

expert reports at issue were timely served by Plaintiffs on or before the November 15, 2023

deadline set forth in the Scheduling Order.8 It is only through a tortured interpretation of the

proceedings that Defendants argue that the reports were untimely. Even so, to the extent the expert

reports are determined to be untimely, a point Plaintiffs do neither agree with nor concede,

Plaintiffs’ “untimely” disclosure was substantially justified and harmless, and striking Plaintiffs’

expert reports is unwarranted.

    I.      Plaintiffs’ Expert Disclosures Were Timely

         On September 6, 2023, after this matter was stayed for nearly two years due to Defendants’

misguided efforts to stop trials and force resolution through failed bankruptcies, the Court held a

Case Management Conference. In advance of the Conference, the parties submitted competing

versions of a proposed scheduling order. “The proposed scheduling orders [were] identical with

the exception of paragraph 8, which addresse[d] dispositive and Daubert motions.” See CMC



8
 By agreement of the parties, the reports of Dr. William Longo were served on November 17,
2023, since Dr. Longo was at trial in a mesothelioma case against Defendants in state court in
California on November 15, 2023.
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Transcript at 7:9-12. In response to the proposed scheduling orders, on October 10, 2023, the

Court entered an Order amending the discovery deadlines for Stage Three (bellwether) cases. The

Scheduling Order, the form of which had been agreed upon by all parties, stated that:

       Plaintiffs shall serve, if necessary, supplemental and amended disclosures of all
       general and case-specific experts pursuant to Rule 26(a)(2)(A) and serve on
       Defendants’ counsel the Rule 26(a)(2)(B) reports of all general and case-
       specific expert witnesses they may use at trial in any of the Stage Three cases
       on or before November 15, 2023.

See Scheduling Order ¶ 2 (emphasis added). Tellingly, in moving to strike Plaintiffs’ experts,

Defendants conspicuously omit that part of the Order (highlighted above) which contemplates

Plaintiffs serving on November 15, 2023, all general and case-specific expert reports they may

use at trial. Deft. Memo. at 5.9 If the agreed upon Scheduling Order was meant to prohibit Plaintiffs

from serving reports for experts who had not previously been disclosed, there would be no reason

for the Scheduling Order to direct Plaintiffs to serve experts reports for all general and case-

specific expert witnesses that may be used at trial – Defendants would already be in possession of

those reports.

       Defendants also misrepresent the form and content of prior bellwether scheduling Orders.

For example, Defendants argue that the August 2, 2021 Order “limited the scope of general

causation evidence to ‘supplemental’ testimony. (See ECF No. 24511, at 2.).” Deft. Memo. at 3.

However, the Order referred to by Defendants makes NO reference to limiting experts to

“supplemental” reports. Instead, the August 2021 Order provides for service of reports for all

general and case specific expert witnesses (Order at ¶2) and differentiates between deposition time

allotted for experts who only served supplemental reports (Order at ¶4) and those who provided

new or supplemental reports on general causation (Order at ¶5).


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  Defendants’ Memorandum of Law in Support of Motion to Strike Plaintiffs’ Improper
Supplemental Reports, Dkt. No. 28798-1, is referred to herein as “Deft. Memo. at __.”
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       In a similar fashion, Defendants attempt to limit the meaning and scope of “supplemental

and amended disclosures” by arguing that Plaintiffs’ experts “improperly seek to amend their

opinions rather than supplement them with new science or developments.” Deft. Memo. at 1. If

the intent of the agreed upon Scheduling Order was to only allow Plaintiffs’ experts to supplement

their opinions with new science and developments, there would be no reason for the Scheduling

Order to reference both supplemental and amended disclosures. Nor would there be a reason, as

noted above, for the Scheduling Order to address service of all general and case-specific expert

reports that may be used at trial.

       Although the parties may differ as to whether and to what extent the Court needs to revisit

Daubert for certain experts and certain opinions, especially since Judge Wolfson has already

determined the methodologies to be sound, the parties were in agreement that new reports would

be needed given the passage of time and new science. Ms. Sharko, for example, when addressing

the Court on the issue of the proposed order, stated: “The problem with plaintiffs’ proposed

language is that it would handcuff the Court and handcuff counsel to a hearing that took place in

2019, to reports that were written in 2019, to an opinion based on the law as it existed in 2020.”

CMC Transcript at 16:10-14 (emphasis added). Despite acknowledging that reports from 2019

may be stale and in need of updating, Defendants’ argument would tether Plaintiffs to 2018 and

2021 reports while providing the opportunity for Defendants to serve whatever they deem

necessary and appropriate. In this regard, it should not be forgotten that Defendants were

scheduled to serve their expert reports only days before filing the first LTL bankruptcy and the

passage of time created by their own doing would give them a significant strategic advantage

moving forward if this Motion were granted.

       In short, all reports served by Plaintiffs pursuant to the Court’s Order on November 15,



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2023, whether a new report, amended report, or supplemental report, were timely served.

Defendants’ motion to strike should be denied in its entirety.

   II.      Plaintiffs’ November 15, 2023 Disclosure Of Experts Was Justified and Harmless

         Pursuant to Rule 37(c)(1), if “a party fails to provide information as required by Rule 26(a)

or (e), the party is not allowed to use that information or witness to supply evidence on a motion,

at a hearing, or at trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ.

P. 37(c)(1). Plaintiffs do not concede that the service of expert reports on November 15, 2023 was

untimely, however, to the extent the Court rules as such, service of the expert reports was

substantially justified and harmless.

         With respect to the “substantial justification” standard, the Third Circuit has expressed

agreement with a Middle District of Pennsylvania Court decision which found that “‘substantial

justification’ for the failure to make a required disclosure has been regarded as justification to a

degree that could satisfy a reasonable person that parties could differ as to whether the party was

required to comply with the disclosure request. The test of substantial justification is satisfied if

there exists a genuine dispute concerning compliance.” Landau v Lamas, No. 3:15-cv-1327, 2021

WL 2930078, at *2 (M.D. Pa. July 12, 2021) (quoting Girder v. Keystone Health Plan Cent., Inc.,

580 F.3d 119, 140 n. 19 (3d Cir. 2009)). In the present matter, at a minimum, there exists a genuine

dispute concerning compliance with the Scheduling Order. The proposed order was negotiated

and agreed upon by the parties (except for paragraph 8) before being submitted to the Court.

Plaintiffs’ position reasonably interprets the Order to permit Plaintiffs to serve upon Defendants

“reports of all general and case-specific expert witnesses they may use at trial in any of the Stage

Three cases on or before November 15, 2023.” Scheduling Order at ¶2 (emphasis in original).

Plaintiffs’ interpretation is especially justified in light of the two-year delay unjustly caused by



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Defendants’ bad-faith bankruptcy strategy which was implemented only days before Defendants

were scheduled to serve their expert reports upon Plaintiffs. To interpret the Order in any other

way would substantially prejudice Plaintiffs by allowing Defendants to serve their expert

disclosures more than two years after Plaintiffs’ disclosures.

        In determining whether a party's misconduct is “harmless,” a Court must determine

whether the misconduct “involves an honest mistake, coupled with sufficient knowledge by the

other party of the material that has not been produced.” Tolerico v Home Depot, 205 F.R.D. 169

176 (M.D. Pa. 2022) (quoting Stallworth v. E-Z Serve Convenience Stores, 199 F.R.D. 366, 369,

(M.D. Ala. 2001)). Examples of “harmless” violations of Rule 26(a) include “the inadvertent

failure to disclose the name of a potential witness known to all parties or the failure to list as a trial

witness a person listed by another party.” Id. In determining whether a party’s conduct is harmless,

there are several factors the Third Circuit has identified that must be considered, including:

        (1) The prejudice or surprise in fact of the party against whom the excluded
        witnesses would have testified, (2) the ability of that party to cure the prejudice, (3)
        the extent to which waiver of the rule against calling unlisted witnesses would
        disrupt the orderly and efficient trial of the case or of the other cases in the court,
        and (4) bad faith or willfulness in failing to comply with the court’s order.

Meyers v Pennypack Woods Home Ownership Ass’n, 559 F.2d 894, 904-05 (3d Cir. 1977). See

also In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 791-92 (3d Cir. 1994) (applying the

“Pennypack Factors” in holding district court abused discretion by excluding expert testimony).

As outlined below, the Pennypack Factors favor Plaintiffs and Defendants’ motion to strike should

be denied in its entirety.

        A. Plaintiffs’ expert disclosures were not a surprise and did not prejudice Defendants

        Defendants are unable to credibly argue that Plaintiffs’ expert disclosures came as a

surprise. Defendants have been on notice of what would be part of this case for years. For



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example, as it relates to the opinions of Plaintiffs’ marketing expert, Dr. Newman, the Master Long

Form Complaint is replete with allegations that Defendants misled and deceived consumers for

decades about the safety of their talcum powder products. See DeMarines v. KLM Royal Dutch

Airlines, 580 F.2d 1193, 1202 (3d Cir. 1978) (reversing district court order excluding expert

testimony and finding plaintiff’s pleadings and pre-trial order gave defendant notice of what would

be part of the case). Plaintiffs’ genetics expert, Dr. Levy, previously provided general causation

opinions related to genetics and has bolstered those opinions now that the specific bellwether

plaintiffs have been identified. Along the same lines, Defendants argue that Plaintiffs’ newly

disclosed epidemiologists, Drs. Cote, Harlow, and Rothman, “address the same fundamental

question as plaintiffs’ existing reports.” Deft. Memo. at 6.10 Across the board, Defendants have

been on notice for years of what would be part of this case and none of Plaintiffs’ disclosures can

be said to have taken Defendants by surprise.

        Defendants cannot credibly argue that they have not been aware of the general substance

of the testimony to be offered by Plaintiffs’ experts, especially since there have been numerous

state court trials wherein these experts have previously been identified. See In re Paoli, 35 F.3d

at 792 (finding minimal prejudice where plaintiffs properly identified expert by applicable

deadline and defendants were aware of the general substance of the testimony that would be

offered); E. Allen Reeves, Inc. v. Michael Graves & Assoc., Inc., No. 10-1393 (MAS)(TJB), 2015

WL 105825, at *7 (D.N.J. Jan. 7, 2015) (denying motion to exclude where moving party had been

aware of portions of report adverse to its position and would suffer little prejudice if reports were



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   To the extent Plaintiffs have identified multiple experts in certain disciplines, Defendants’
current motion to strike is not the appropriate platform to address duplicative testimony. Pursuant
to the Scheduling Order, Plaintiffs are not required to “serve their final list of trial experts for the
first bellwether trial” until 60 day before the trial date. See Scheduling Order at ¶ 12 (emphasis
added).
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admitted).

       B. If prejudiced, any prejudice can be easily cured

       Although Plaintiffs contend that Defendants have not been prejudiced by the November

15, 2023 expert disclosures, if the Court determines that Defendants were prejudiced, any such

prejudice can be easily cured. To start, in their moving papers, Defendants acknowledge that any

prejudice can be cured by granting a four-week extension of the current deadlines. See Deft.

Memo. at 2 (“given the breadth and timing of plaintiffs’ recent disclosures, the Court should extend

by four weeks the current deadlines for deposing plaintiffs’ experts, as well as the deadlines that

follow therefrom.”).11 Further, as outlined in Section II(C), infra., there is ample time to cure any

alleged prejudice given the current Scheduling Order and the fact that there is no trial date set for

this action. See ABB Air Preheater, Inc., 167 F.R.D. at 673 (untimely submission resulted in no

prejudice where there was ample time to cure any alleged prejudice give the lack of trial date for

the action, or any objection to supplementation by the other party of its own expert reports).

       Further, to the extent Defendants argue that Plaintiffs’ disclosures offer new opinions, the

current Scheduling Order grants Defendants the right to depose and challenge those opinions. To

date, Defendants have refused to do so, and their refusal to proceed with depositions is enough for

the Court to find no prejudice. See Pennypack, 559 F.2d at 905 (holding no prejudice where

defendant made no effort to depose or serve discovery on newly identified witnesses); Estate of

Goldberg by Goldberg v. Ninoityn, 734 Fed.Appx. 141, 144 (3d Cir. 2018) (denial of motion to

strike was appropriate where party had opportunity to cure prejudice).




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  Plaintiffs made a good faith attempt to resolve this dispute by offering to agree to an extension
of time for depositions until February 19, 2024, provided J&J agreed to withdraw the motion in its
entirety and to schedule certain depositions in January. Defendants rejected the offer without
further discussion or counter.
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       C. Permitting Plaintiffs’ expert disclosures will not disrupt trial proceedings

       Permitting Plaintiffs’ expert disclosures will not disrupt trial proceedings. As outlined in

the Scheduling Order, discovery in this matter is still open, the deadlines for deposing experts has

not yet passed, Defendants have not yet designated experts or served reports that may be used at

trial, dispositive motions have not yet been filed, a case has not yet been designated for the first

trial, the final list of trial experts has not yet been served, no pretrial order has been entered, and

no trial date has been set. See Scheduling Order at ¶¶ 3 through 13.

       The posture of this matter is far different than the posture of any cases cited by Defendants

in support of their Motion. See, e.g., Dandy v. Ethicon Women’s Health and Urology, 579

F.Supp.3d 625, 632 (D.N.J. 2022) (granting motion to strike supplemental report where discovery

had closed, expired deadlines would have to be reopened, and summary judgment motions had

been briefed and were pending before the court); Fillichio v Toms River Police Dept., No. 19-575

(ZNQ)(DEA), 2022 WL 959278, at **3-4 (D.N.J. Mar. 25, 2022) (granting motion to strike

supplemental report served after discovery was “long-closed” and dispositive motions had been

filed); Allen v. Parkland School Dist., 230 Fed. Appx. 189, 194-195 (2007) (excluding testimony

and noting “flagrant disregard of the District Court’s order” where party first disclosed intention

to call expert witness nine months after deadline to serve expert reports and waited another six

months to produce an expert report); Perez v. Great Wolf Lodge of the Poconos LLC, 3:12-cv-

01322, 2017 WL 559704, at *2 (M.D. Pa. Feb. 10, 2017) (denying motion to extend case

management deadlines 2 months before trial, more than a year after discovery had closed, and with

deadlines for motions in limine, pretrial memoranda, and other deadlines just days away); Roberts

v. United States, No. 09-6212 (WJM), 2012 U.S. Dist. LEXIS 86762 (D.N.J. June 22, 2012) (“At

the final pretrial conference, held nearly a year after discovery closed, Plaintiff first sought to



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identify two new potential ‘expert’ witnesses.”); Kieser v. C.R. Bard, Inc., No. 5:20-cv-06045,

2021 WL 8741516, at *1 (W.D. Mo. Apr. 9, 202) (granting motion to strike where case had been

remanded from MDL with direction: “Because all general fact and expert discovery has been

completed in this MDL, the courts receiving these cases need not be concerned with facilitating

general expert, corporate, and third-party discovery.”); Raritan Baykeeper, Inc. v. NL Industries,

Inc., No. 09-4117 (MAS)(DEA), 2022 WL 815846, at *1 (D.N.J. Mar. 17, 2022) (fact discovery

had ended, expert discovery was closed, summary judgment and Daubert motions had come and

gone, and by all counts, the case was ready for trial); In re Asbestos Prods. Liab. Litig. (No. VI),

289 F.R.D. 424, 425 (E.D. Pa. 2013) (expert and dispositive motion deadlines had passed).12

       D. There is no evidence of bad faith or willfulness on the part of Plaintiffs

       Defendants motion should also be denied because Defendants make no arguments that

Plaintiffs’ November 15th service of expert reports pursuant to the Scheduling Order was in bad

faith or intended to mislead Defendants. See Pennypack, 559 F.2d at 905 (refusing to strike

testimony where no finding of bad faith or that failure to comply with order was willful or intended

to mislead or confuse defendant); Hurd v. Yaeger, No. 3:06-cv-1927, 2009 WL 2516934, at *5

(M.D. Pa. Aug. 13, 2009) (finding no willful deception or flagrant disregard where reports were

served within court-imposed deadlines); Estate of Goldberg, 734 Fed.Appx. at 144 (denial of



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   Even the MDL cases cited by Defendants are inapposite. See In re 3m Combat Arms Earplug
Prods. Liab. Litig., No. 3:19-md-2885, 2021 WL 763778, at *1 (excluding supplemental reports
where “Defendants produced to Plaintiffs a 20-page supplemental expert report nearly two-months
after their expert disclosure deadline and only 24 hours (and 6 minutes) before the parties’ deadline
to file their Daubert and dispositive motions.”); In re Ethicon, Inc., Pelvic Repair Sys. Prods. Liab.
Litig., MDL No. 2327, 2017 WL 4769657 (S.D. W. Va. July 21, 2017) (Second Supplemental
report was served after the disclosure deadline, motion deadline, and close of discovery); In re
Viagra Prods. Liab. Litig., 658 F. Supp. 2d 936, 948 (D. Minn. 2009) (excluding supplemental
report filed after the court had already heard oral arguments on defendants second Daubert
challenge, in addition to hearing oral arguments on case-specific summary judgment motions and
motions to exclude Plaintiffs’ regulatory and specific causation experts.
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motion to strike where dearth of factual allegations as to how party acted in bad faith).

                                         CONCLUSION

        For years, Defendants have made concerted efforts to delay this MDL litigation. Now,

following a two-year stay of proceedings brought about by Defendants’ bad-faith bankruptcy

strategy, Defendants move to strike Plaintiffs’ expert reports by arguing that permitting the reports

would result in undue delay and prejudice. Defendants make their argument in the presence of a

Scheduling Order that contemplates ongoing expert discovery and depositions and do so while

themselves refusing to abide by the Scheduling Order and refusing to take the depositions of

certain experts. Defendants’ motion is disingenuous, at best, and yet another attempt to further

delay and unfairly prejudice these proceedings with extended motion practice. The Court should

not countenance Defendants’ ongoing tactics and Defendants’ motion should be denied in its

entirety.



Dated: January 2, 2024                       /s/ Michelle A. Parfitt
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                                    CERTIFICATE OF SERVICE


       I hereby certify that on January 2, 2024, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

CM/ECF participants registered to receive services in this MDL.


                                             Respectfully submitted,


                                             /s/ P. Leigh O’Dell
                                             P. Leigh O’Dell




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